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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re:                                            Chapter 11
                                                      Case No. 20-10343 (LSS)
    BOY SCOUTS OF AMERICA AND                         Jointly Administered
    DELAWARE Boy Scouts, LLC, 1
                                                      Re: D.I. 1144, 1161, 1164
                                 Debtors.



                 DECLARATION OF ANDREW KIRSCHENBAUM
       IN SUPPORT OF CENTURY’S MOTION TO COMPEL THE DEPOSITIONS
       OF MESSRS. KOSNOFF AND VAN ARSDALE, OR IN THE ALTERNATIVE
    ADJOURN THE HEARING ON THE PENDING 2019 MOTIONS [D.I. 1144], [D.I. 1161]
                              AND [D.I. 1164]

             I, Andrew Kirschenbaum, pursuant to 28 U.S.C. § 1746(2), under penalty of perjury,

hereby declare as follows:

             1.     I am an associate at the firm O’Melveny & Myers LLP, Counsel for Century

Indemnity Company, as successor to CCI Insurance Company, as successor to Insurance Company

of North America and Indemnity Insurance Company of North America, Westchester Fire

Insurance Company, and Westchester Surplus Lines Insurance Company. I submit this declaration

based on my personal knowledge of the proceedings in In re Boy Scouts of America and Delaware

BSA, LCC, and review of the documents described below.

             2.     Attached hereto as Exhibit 1 is a true and correct copy of an Affidavit of Service

of a subpoena for the deposition of Timothy Kosnoff, left at 1321 Upland Drive, PMB 4685,

Houston, TX 77043.


1
      The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax
      identification number, are as follows: Boy Scouts of America (6300) and Delaware Boy Scouts, LLC
      (4311). The Debtors’ mailing address is 1325 West Walnut Law, Irving, Texas 75038.
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       3.      Attached hereto as Exhibit 2 is a true and correct copy of an Affidavit of Attempted

Service of a subpoena for the deposition of Andrew Van Arsdale. Service was attempted at 3667

Voltaire Ave., San Diego, CA 92106.

       4.      Attached hereto as Exhibit 3 is a true and correct copy of an email exchange

between Tancred Schiavoni and David Wilks.

       I declare under pain and penalty of perjury of the laws of the United States that the

foregoing is true and correct.

Dated: October 6, 2020                            Respectfully Submitted,



                                                  By: /s/ Andrew Kirschenbaum

                                                      ANDREW KIRSCHENBAUM
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       EXHIBIT 3
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From:                        Schiavoni, Tancred
Sent:                        Friday, October 2, 2020 5:45 PM
To:                          David Wilks
Cc:                          Kirschenbaum, Andrew; Schiavoni, Tancred
Subject:                     RE: In re Boy Scouts of America and Delaware BSA, LLC

David

         We are dealing with the facts and the motions with which we are now presented. We
will notice the depositions for Friday unless you give us an alternative date next week.


From: David Wilks <dwilks@wilks.law>
Sent: Friday, October 2, 2020 5:26 PM
To: Schiavoni, Tancred <tschiavoni@omm.com>
Subject: RE: In re Boy Scouts of America and Delaware BSA, LLC


[EXTERNAL MESSAGE]

Tanc,

As I explained separately, Messrs. Kosnoff and Van Arsdale have resigned from the Coalition. Neither
they nor their firms are part of the Coalition any longer and the Coalition’s amended 2019 statement
will not include them. I am unaware of when it will be filed, since my clients are not participating in
that exercise. Accordingly, we see no reason that the depositions you proposed should take place. If
you disagree, please let me know what discoverable you believe can be obtained from those
depositions. As for the timing of the hearing, you should take up that issue with the Coalition’s
attorneys.

Regards,

Dave


David E. Wilks
Wilks Law, LLC
4250 Lancaster Pike, Suite 200
Wilmington, Delaware 19805

(302) 225-0858




From: Schiavoni, Tancred [mailto:tschiavoni@omm.com]
Sent: Thursday, October 1, 2020 4:38 PM
To: Teresa McKnight <tmcknight@wilks.law>
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Cc: David Wilks <dwilks@wilks.law>; Schiavoni, Tancred <tschiavoni@omm.com>
Subject: RE: In re Boy Scouts of America and Delaware BSA, LLC

David

         Your letter imposed limitations on the depositions not contemplated by the rules but
beyond that you only gave us dates before your clients were to file amended 2019
statements. We had thought we’d receive the amended 2019 statement before today but we
still have not received anything. Please let us when your clients intend to file their amended
2019 statement. We’d like to pick a date after that date provided they are going to do so
sufficiently before the hearing. If they are going to amend after the hearing or on the eve of
the hearing, we should discuss the timing of the hearing.


From: Teresa McKnight <tmcknight@wilks.law>
Sent: Tuesday, September 22, 2020 2:22 PM
To: Schiavoni, Tancred <tschiavoni@omm.com>
Cc: David Wilks <dwilks@wilks.law>
Subject: In re Boy Scouts of America and Delaware BSA, LLC


[EXTERNAL MESSAGE]

Mr. Schiavoni,

Attached please find correspondence from David Wilks regarding the above referenced matter.

Best,

Teresa McKnight
Paralegal
Wilks Law, LLC
4250 Lancaster Pike, Suite 200
Wilmington, DE 19805
DD: 302-225-0853




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